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 7

 8                                  UNITED STATES DISTRICT COURT

 9                                NORTHERN DISTRICT OF CALIFORNIA
                                       SAN FRANCISCO DIVISION
10

11    DISH NETWORK L.L.C. and
      SLING TV L.L.C.,                                 Case No. 3:24-cv-00961-JSC
12
                      Plaintiffs,                     DECLARATION OF KEVIN GEDEON
13

14            v.

15   VANEET SHARMA and
     ASTRO VASTU SOLUTIONS LLC,
16
                      Defendants.
17

18           I, Kevin Gedeon, of Englewood, Colorado declare as follows:
19           1.      I make this declaration based on personal knowledge and, if called upon to testify,
20   would testify competently as stated herein.
21           2.      I have been employed by Plaintiff DISH Network L.L.C. (“DISH”) as part of its
22   Signal Integrity Department since 2003, currently serving as the Manager of Fraud Investigations.
23   I am responsible for investigating piracy, i.e., unauthorized reception, retransmission, or viewing,
24   of the television programming that DISH and co-Plaintiff Sling TV L.L.C. (“Sling”) provide to
25   their subscribers, including investigations of internet streaming television services that capture and
26   retransmit that programming.
27           3.      Plaintiffs provide television programming to several million authorized, fee-paying
28   subscribers of their Sling TV and DISH Anywhere services by transmitting channels to them using

                                           Declaration of Kevin Gedeon
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